Case 3:24-cv-06029-ZNQ-JBD    Document 17-9       Filed 08/20/24    Page 1 of 3 PageID:
                                     547



                                  EXHIBIT 8

                  2/23/2024 Trenton Opposition to Motion to Intervene
                                 (Civil Rights Dkt. 75)
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  Case
     3:24-cv-06029-ZNQ-JBD
        3:20-cv-13552-DEA Document
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                                       Filed 02/23/24
                                              Filed 08/20/24
                                                        Page 1 Page
                                                               of 2 PageID:
                                                                     2 of 3 PageID:
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                                    548




 W. Reed Gusciora                      CITY OF TRENTON                         A. Wesley Bridges
 Mayor                                 DEPARTMENT OF LAW                       Director of Law

                                          February 23, 2024

  Via ECF
  Honorable Douglas Alpert
  Clarkson S. Fisher Building
  & U.S. Courthouse
  402 East State Street
  Trenton, NJ 08608

        RE:     Tyshon Edwards v. COT, et al.
                Docket No.: 3:20-CV-13552-BRM-DEA

 Dear Judge Alpert:

 As Your Honor is aware, our office represents THE Defendant City of Trenton (hereinafter “City
 Defendant”). Please be advised that the City Defendant opposes intervention for the reasons as
 set forth in the Opposition filed by J. Brooks DiDonato, Esq., attorney for defendants Officers,
 Johnathon Cecilla, Nicholas Mahan, Eric Avalos, and Anthony Kubish (collectively, the
 “Officers”) to Motion to Intervene filed on behalf of Certain Underwriters of Lloyd’s of London . City
 Defenant thanks the Court for its courtesies.



                                                Very truly yours,


                                                By:/s/ Rashaan S. Williams
                                                Rashaan S. Williams
                                                ASSISTANT CITY ATTORNEY




         319 East State Street   • Trenton, New Jersey 08608-1866     • Phone: 609-989-3011
                                          Fax: 609-989-4242
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 cc:   John S. Stapleton
       LeVan Muhic Stapleton LLC
       601 Route 73 N, Suite 303
       Marlton, NJ 08053
 cc:   Charles R. G. Simmons, Esq.
       SIMMONS LAW L.L.C.
       28 Washington Street, Suite 104
       East Orange, New Jersey 07017

 cc:   J. Brooks DiDonato, Esq.
       PARKER McCay P.A.
       9000 Midlantic Drive, Suite 300
       Mount Laurel, New Jersey 08054

 Cc:   Brian H. Leinhauser
       MacMAIN LAW GROUP, LLC
       433 W. Market Street
       SUITE 200
       West Chester, PA 19382




       319 East State Street   • Trenton, New Jersey 08608-1866   • Phone: 609-989-3011
                                        Fax: 609-989-4242
